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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:97-cr-00046-MP-AK

MICHAEL TERRANCE HICKS,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 279, Mr. Hicks' Motion for Reconsideration of

this Court's order denying a sentencing reduction under 18 U.S.C. § 3582. Mr. Hicks filed a

motion seeking a sentence reduction based on the amendments to the Guidelines dealing with

crack cocaine. Because of the amounts involved, however, his offense level stayed at 38 and so

the Court denied his motion. He now seeks reconsideration, arguing that the policy statements at

USSG § 1B1.10 violate separation of powers principles, represent an improper exercise of the

sentencing commission's authority, and violate the tenets of the Booker case. He offers no

support for these assertions, and these arguments have no merit. Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       The Motion for Reconsideration (doc. 279) is denied.

       DONE AND ORDERED this 28th day of October, 2008


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
